IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF IOWA
EASTERN-DUBUQUE DIVISION

UNITED STATES OF AMERICA, )
Plaintiff, NO: CR 09-1001-LRR
vs. ) DEFENDANT'S EXHIBIT LIST
CRAIG NESTEBY,
Defendant.
Exhibit Defendant's Exhibits Objections Offered | (A)-(NA)
No. [Cite Fed.R.Evid.]

A Letter from Julie Turner,
extended family of Craig
Nesteby and friends of Craig
Nesteby

/s/Alfred E. Willett

ALFRED E. WILLETT LIO008215

ATTORNEY AT LAW
CERTIFICATE OF SERVICE P.O. Box 1567
Cedar Rapids IA 52406-1567
1 hereby certify that on July 16, 2009, |
ctectronically filed the foregoing with the Clerk of Telep hone: (319) 364-2467
the Court using the ECF system, which will send Facsimile: (319) 364-2460

notification of such filing to the following: E-mail: aewillett@aewlaw.com

Assistant U.S. Attorney Stephanie Rose kjensen@aewlaw.com

ATTORNEY FOR DEFENDANT,
CRAIG NESTEBY

Copies to: Craig Nesteby

Direct Contact E-Mail address:

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Trial Documents
2:09-cr-01001-LRR USA v. Nesteby

US. District Court
Northern District of Iowa

Notice of Electronic Filing

The following transaction was entered by Willett, Alfred on 7/16/2009 at 11:47 AM CDT and filed on 7/16/2009
Case Name: USA v. Nesteby
Case Number: 2:09-cr-1001

Filer: Dft No. 1 - Craig Nesteby
Document Number: 27
Docket Text:

EXHIBIT LIST by Defendant Craig Nesteby (Attachments: # (1) Exhibit A) (Willett, Alfred)

2:09-cr-1001-1 Notice has been electronically mailed to:

US Probation pocrecm@ianp.uscourts.gov, poscecm@ianp.uscourts.gov
Alfred E Willett aewillett@aewlaw.com, kjensen@aewlaw.com

Stephanie Marie Rose _ stephanie.rose@usdoj.gov, usaian.ecfcrimcr@usdoj.gov
2:09-cr-1001-1 Notice has been delivered by other means to:

The following document(s) are associated with this transaction:

Document description: Main Document

Original filename:n/a

Electronic document Stamp:

[STAMP dcecfStamp_ID=1025896836 [Date=7/16/2009] [FileNumber=749390-0]
[3928f6e474 1 503c40634dc72f7be366fb7b00e 1 4cd2956eac8547 1 fa58797404ca09
798db3355d5847c3b1 4ae12d9367dd632al 8b8cd647c¢240a4 1c98949090f]}
Document description:Exhibit A

Original filename:n/a

Electronic document Stamp:

[STAMP dceecfStamp_ID=1025896836 [Date=7/16/2009] [FileNumber=749390-1 ]
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Case 2:09-cr-01001-LRR-MAR Do

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https://ecf.iand.uscourts.gov/cgi-bin/Dispatch.pl?49668733 1790206 g

7/16/2009
Your Honor,

We are writing on behalf of our nephew and friend, Craig Nesteby. He was arrested for
growing a lot of marijuana “within 1000 feet of a playground”. He lives on Hill Street in
Dubuque and the playgrounds are located on Wilson Street and on University Avenue.
We were told that he could be serving a minimum of five to a maximum of 80 years in a
federal minimum-security prison. We believe the Mandatory Minimum Safety Valve
crime bill signed into law by President Clinton in 1994 could apply here.

Since this incident happened in June of 2008, he has awakened to the reality of his
mistakes. He no longer uses marijuana and never plans to again. He fully appreciates
the seriousness of his actions and knows he must take responsibility for them. He is
now a single parent to his 4-year-old son, whom he loves very much. Craig has been
held in county jails since February 2009 and it has been hard on Creighton, Craig's son.
We feel further incarceration would not benefit his son’s life in any way.

Craig is a good young man who has never done anything violent in his life. We realize
his mistake is a serious one, but we also feel that five years in prison is not what best
serves society. With the current economic hardships, wouldn't it be wiser to use Craig's
talents to allow him years of probation with a significant amount of community service?
Craig is a very good construction contractor and would be very useful in building or
remodeling houses for the government. He can be routinely tested for drug use and
more importantly, the government would save, at least, $50,000 per year housing and
feeding him. It would make good financial sense and show some compassion to a non-
violent offender and a good person who fully understands the error of his ways and is
willing to give back to his community.

Thank you for your time and consideration.

Julie Turner and Craig's extended family and friends

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Teresa lerey %

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